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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

CRIMINAL NO.
25-10272-LTS

                                   UNITED STATES OF AMERICA


                                                 v.


                                        KSENIIA PETROVA

                                  ORDER ON EXCLUDABLE TIME

                                          June 27, 2025
DEIN, M.J.

       With the agreement of the parties, this court finds and concludes, pursuant to the pro-

visions of 18 U.S.C. § 3161(h)(7)(A) and Section 5(b)(7)(B) of the Plan for Prompt Disposition of

Criminal Cases in the United States District Court for the District of Massachusetts (Statement

of Time Limits Adopted by the Court and Procedures for Implementing Them, Effective

December 2008), that the parties require time to develop their respective discovery plans and

to produce discovery under the automatic discovery process, and that the defendant requires

the time for the preparation of an effective defense, including time for review of the evidence,

preparation of motions and consideration of alternatives concerning how best to proceed, and

that the interests of justice outweighs the best interests of the public and the defendant for a

trial within seventy days of the return of an indictment. I further find that not granting this

continuance would deny counsel for both the government and the defendant a reasonable time

necessary for effective preparation, taking into account the exercise of due diligence. See

18 U.S.C. § 3161(h)(7)(B)(iv).
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       Accordingly, it is hereby ordered that the Clerk of this Court enter excludable time for

the period of

                             June 25, 2025 through August 8, 2025

that being the period between the date the indictment was filed and the Initial Status

Conference.

       Based upon this order, at the time of the Initial Status Conference, there will be zero (0)

days of non-excludable time under the Speedy Trial Act and seventy (70) days will remain under

the Speedy Trial Act in which this case must be tried.


                                                     / s / Judith Gail Dein
                                                     Judith Gail Dein
                                                     United States Magistrate Judge




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